Case 19-30258-KLP                Doc 1921 Filed 01/28/21 Entered 01/28/21 11:30:25                                      Desc Main
                                         Document    Page 1 of 10



 Dennis F. Dunne, Esq. (admitted pro hac vice)                                       Michael A. Condyles, Esq. (VA 27807)
 Evan R. Fleck, Esq. (admitted pro hac vice)                                         Peter J. Barrett, Esq. (VA 46179)
 Michael W. Price, Esq. (admitted pro hac vice)                                      Jeremy S. Williams, Esq. (VA 77469)
 MILBANK LLP                                                                         Brian H. Richardson, Esq. (VA 92477)
 55 Hudson Yards                                                                     KUTAK ROCK LLP
 New York, New York 10001                                                            901 East Byrd Street, Suite 1000
 Telephone:    (212) 530-5000                                                        Richmond, Virginia 23219-4071
 Facsimile:    (212) 530-5219                                                        Telephone:      (804) 644-1700
                                                                                     Facsimile:      (804) 783-6192
 Co-Counsel for the Reorganized Debtors

                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE EASTERN DISTRICT OF VIRGINIA
                                        RICHMOND DIVISION

                                                                             )
     In re:                                                                  )        Chapter 11
                                                                             )
     GEMSTONE SOLUTIONS GROUP, INC., et al.,                                 )        Case No. 19-30258 (KLP)
                                                                             )
                        Reorganized Debtors.                                 )        (Jointly Administered)
                                                                             )

        NOTICE OF FILING OF PROPOSED STIPULATION AND CONSENT ORDER
        REGARDING CLAIMS OF THE LOUISIANA DEPARTMENT OF REVENUE

         PLEASE TAKE NOTICE that the above-captioned reorganized debtors (collectively,
 the “Reorganized Debtors”) 1 hereby files a proposed Stipulation and Consent Order Regarding
 Claims of the Louisiana Department of Revenue (the “Proposed Order”) attached hereto as
 Exhibit A. The Reorganized Debtors intend to submit the Proposed Order through the Court’s
 electronic order submission process for entry in the above captioned case.

        PLEASE TAKE FURTHER NOTICE that copies of the Proposed Order, and all other
 documents filed in these chapter 11 cases are available free of charge by visiting the Reorganized
 Debtor’s restructuring website at https://cases.primeclerk.com/gym. You may also obtain copies



 1     The Reorganized Debtors in these cases, along with the last four digits of each Reorganized Debtor’s federal tax identification
       number, are: Gemstone Solutions Group, Inc. f/k/a Gymboree Group, Inc. (6587); Gemstone Solutions Intermediate
       Corporation f/k/a Gymboree Intermediate Corporation (1473); Gemstone Solutions Holding Corporation f/k/a Gymboree
       Holding Corporation (0315); Gemstone Solutions Wholesale, Inc. f/k/a Gymboree Wholesale, Inc. (6588); Gemstone
       Solutions Mark, Inc. f/k/a Gym-Mark, Inc. (6459); Gemstone Solutions Operations, Inc. f/k/a Gymboree Operations, Inc.
       (6463); Gemstone Solutions Distribution, Inc. f/k/a Gymboree Distribution, Inc. (8669); Gemstone Solutions Manufacturing,
       Inc. f/k/a Gymboree Manufacturing, Inc. (6464); Gemstone Solutions RS, LLC f/k/a Gymboree Retail Stores, LLC (6461);
       Gemstone Solutions Card, LLC f/k/a Gym-Card, LLC (5720); and Gemstone Solutions PR, LLC f/k/a Gymboree Island, LLC
       (1215). The Reorganized Debtors’ service address is P.O. Box 192976, San Francisco, California 94119.




                                                                   1
Case 19-30258-KLP     Doc 1921 Filed 01/28/21 Entered 01/28/21 11:30:25            Desc Main
                              Document    Page 2 of 10



 of any pleadings filed in these chapter 11 cases for a fee via PACER at:
 http://www.vaeb.uscourts.gov in accordance with the procedures and fees set forth therein.


  Dated: January 28, 2021         /s/ Brian H. Richardson
  Richmond, Virginia              Michael A. Condyles, Esq. (VA 27807)
                                  Peter J. Barrett, Esq. (VA 46179)
                                  Jeremy S. Williams, Esq. (VA 77469)
                                  Brian H. Richardson, Esq. (VA 92477)
                                  KUTAK ROCK LLP
                                  901 East Byrd Street, Suite 1000
                                  Richmond, Virginia 23219-4071
                                  Telephone:      (804) 644-1700
                                  Facsimile:      (804) 783-6192
                                  Email:          Michael.Condyles@KutakRock.com
                                                  Peter.Barrett@KutakRock.com
                                                  Jeremy.Williams@KutakRock.com
                                                  Brian.Richardson@KutakRock.com
                                  -and-

                                  Dennis F. Dunne, Esq. (admitted pro hac vice)
                                  Evan R. Fleck, Esq. (admitted pro hac vice)
                                  Michael W. Price, Esq. (admitted pro hac vice)
                                  MILBANK LLP
                                  55 Hudson Yards
                                  New York, New York 10001
                                  Telephone:    (212) 530-5000
                                  Facsimile:    (212) 530-5219
                                  Email:        ddunne@milbank.com
                                                efleck@milbank.com
                                                mprice@milbank.com

                                  Co-Counsel for the Reorganized Debtors




                                             2
Case 19-30258-KLP   Doc 1921 Filed 01/28/21 Entered 01/28/21 11:30:25   Desc Main
                            Document    Page 3 of 10



                                    Exhibit A

                                 Proposed Order
Case 19-30258-KLP                Doc 1921 Filed 01/28/21 Entered 01/28/21 11:30:25                                    Desc Main
                                         Document    Page 4 of 10



 Dennis F. Dunne, Esq. (admitted pro hac vice)                                      Michael A. Condyles, Esq. (VA 27807)
 Evan R. Fleck, Esq. (admitted pro hac vice)                                        Peter J. Barrett, Esq. (VA 46179)
 Michael W. Price, Esq. (admitted pro hac vice)                                     Jeremy S. Williams, Esq. (VA 77469)
 MILBANK LLP                                                                        Brian H. Richardson, Esq. (VA 92477)
 55 Hudson Yards                                                                    KUTAK ROCK LLP
 New York, New York 10001                                                           901 East Byrd Street, Suite 1000
 Telephone:    (212) 530-5000                                                       Richmond, Virginia 23219-4071
 Facsimile:    (212) 530-5219                                                       Telephone:      (804) 644-1700
                                                                                    Facsimile:      (804) 783-6192
 Co-Counsel for the Reorganized Debtors

                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                       RICHMOND DIVISION

                                                                            )
     In re:                                                                 )        Chapter 11
                                                                            )
     GEMSTONE SOLUTIONS GROUP, INC., et al.,1                               )        Case No. 19-30258 (KLP)
                                                                            )
                       Reorganized Debtors.                                 )        (Jointly Administered)
                                                                            )

                  STIPULATION AND CONSENT ORDER REGARDING CLAIMS
                       OF THE LOUISIANA DEPARTMENT OF REVENUE

              Gemstone Solutions Group, Inc. (“GSGI”) f/k/a Gymboree Group, Inc., Gemstone

 Solutions RS, LLC (“GRRS”) f/k/a Gymboree Retails Stores, LLC, and Gemstone Solutions

 Operations, Inc. (“GSOI” and, together with GSGI and GRRS, “Gemstone”) f/k/a Gymboree

 Operations, Inc., reorganized debtors in the above-captioned cases and the Louisiana Department

 of Revenue (“Louisiana Department of Revenue”, and, together with Gemstone, the “Parties”),




 1     The Reorganized Debtors, along with the last four digits of each Reorganized Debtor’s federal tax identification number, are:
       Gemstone Solutions Group, Inc. f/k/a Gymboree Group, Inc. (6587); Gemstone Solutions Intermediate Corporation f/k/a
       Gymboree Intermediate Corporation (1473); Gemstone Solutions Holding Corporation f/k/a Gymboree Holding Corporation
       (0315); Gemstone Solutions Wholesale, Inc. f/k/a Gymboree Wholesale, Inc. (6588); Gemstone Solutions Mark, Inc. f/k/a
       Gym-Mark, Inc. (6459); Gemstone Solutions Operations, Inc. f/k/a Gymboree Operations, Inc. (6463); Gemstone Solutions
       Distribution, Inc. f/k/a Gymboree Distribution, Inc. (8669); Gemstone Solutions Manufacturing, Inc. f/k/a Gymboree
       Manufacturing, Inc. (6464); Gemstone Solutions RS, LLC f/k/a Gymboree Retail Stores, LLC (6461); Gemstone Solutions
       Card, LLC f/k/a Gym-Card, LLC (5720); and Gemstone Solutions PR, LLC f/k/a Gymboree Island, LLC (1215). The
       Reorganized Debtors’ service address is P.O. Box 192976, San Francisco, California 94119.

                                                                  1
Case 19-30258-KLP       Doc 1921 Filed 01/28/21 Entered 01/28/21 11:30:25                  Desc Main
                                Document    Page 5 of 10



 each by counsel, hereby enter into this stipulation (this “Stipulation”), and stipulate and agree as

 follows:

                                            RECITALS

        WHEREAS, on January 16, 2019, Gemstone and its affiliated reorganized debtors

 (collectively, the “Reorganized Debtors”) filed for bankruptcy protection under chapter 11 in the

 United States Bankruptcy Court for the Eastern District of Virginia (the “Bankruptcy Court”);

        WHEREAS, on the dates set forth in Schedule 1, the Louisiana Department of Revenue

 filed a number of proofs of claim, which asserted administrative, priority and/or general unsecured

 claims each as set forth in Schedule 1 (the “Asserted Claims”);

        WHEREAS, on March 4, 2019, the Bankruptcy Court entered the Order (I) Approving the

 Sale of Certain Gymboree and Crazy 8 Assets Free and Clear of Liens, Claims, Interests and

 Encumbrances and (II) Approving the Assumption and Assignment of Executory Contracts and

 Unexpired Leases in Connection Therewith; and (III) Granting Related Relief [Docket No. 487],

 which, among other things, authorized the sale of certain intellectual property (including the

 Gymboree name), required the Debtors to cease usage of the such intellectual property, and

 required the Reorganized Debtors to change the caption of the chapter 11 cases;

        WHEREAS, on August 9, 2019, the Bankruptcy Court entered the Order Approving

 Omnibus Relief in Aid of Administration of Post-Sale Residual Estates, Including Claim Settlement

 Procedures and Remaining Employee Severance Plan [Docket No. 957], authorizing the Clerk of

 the Bankruptcy Court to update the ECF filing system and records to reflect the changes of the

 Reorganized Debtors respective corporate names.

        WHEREAS, on December 23, 2020, the Reorganized Debtors filed the Debtors’

 Eighteenth Omnibus Objection to Certain Misclassified Priority and Administrative Priority



                                                  2
Case 19-30258-KLP         Doc 1921 Filed 01/28/21 Entered 01/28/21 11:30:25               Desc Main
                                  Document    Page 6 of 10



 Claims [Docket No. 1912] (the “Objection”), in which the Debtors objected to Claim 3635 and

 Claim 3636; and

        WHEREAS, on December 23, 2020, the Reorganized Debtors filed the Notice of

 Satisfaction of Claim [Docket No. 1914] (the “Docket 1914 Notice of Satisfaction”), in which the

 Debtors notified the Louisiana Department of Revenue that Claim 266, Claim 269, Claim 3637,

 and Claim 3638 had been satisfied; and

        WHEREAS, on December 23, 2020, the Reorganized Debtors filed the Notice of

 Satisfaction of Claim [Docket No. 1915] (the “Docket 1915 Notice of Satisfaction” and, together

 with the Docket 1914 Notice of Satisfaction, the “Satisfaction Notices”), in which the Debtors

 notified the Louisiana Department of Revenue that Claim 268 and Claim 2736 had been satisfied;

 and

        WHEREAS, the Reorganized Debtors and the Louisiana Department of Revenue now

 wish to settle the issues presented in the Objection and Satisfaction Notices with respect to the

 Asserted Claims.

                                          SETTLEMENT

        NOW THEREFORE, IN CONSIDERATION OF THE MUTUAL PROMISES

 CONTAINED HEREIN, AND FOR GOOD AND VALUABLE CONSIDERATION, THE

 RECEIPT AND SUFFICIENCY OF WHICH IS HEREBY ACKNOLWEDGED, IT IS HEREBY

 STIPULATED AND AGREED, BY AND BETWEEN THE PARTIES, THAT:

       1.       The recitals set forth above are incorporated herein by this reference as though set

forth herein at length.

       2.       Based upon the Louisiana Department of Revenue’s receipt and review of the

Reorganized Debtors’ tax returns and the orders entered by the Bankruptcy Court and referenced

herein, the Debtors and the Louisiana Department of Revenue agree that the Asserted Claims shall
                                                 3
Case 19-30258-KLP        Doc 1921 Filed 01/28/21 Entered 01/28/21 11:30:25                  Desc Main
                                 Document    Page 7 of 10



be resolved in the manner set forth in Schedule 1 (the “Stipulated Manner of Claim Resolution”)

in full and final satisfaction of the Asserted Claims.

       3.       The Clerk of the Court and the Claims and Noticing Agent are hereby authorized

to reflect the Stipulated Manner of Claim Resolution on the docket and claims register for the

above-reference case or any affiliated case of a Reorganized Debtors (whether or not such case has

been closed).

       4.       Nothing contained herein shall be deemed a waiver of the right of the Reorganized

Debtors to object to any claim other than those set forth on Schedule 1 (whether asserted by the

Louisiana Department of Revenue or any other party).

       5.       No modification or amendment of this Stipulation shall be valid unless it is in

writing and signed by the Parties.

       6.       This Stipulation may be executed in one or more counterparts, by .pdf or other

electronic transmission, each of which shall be deemed an original, but all of which together shall

constitute one and the same instrument.

       7.       This Stipulation and Consent Order shall be effective and binding on the Parties

and all parties in interest once signed by the Parties and so-ordered by the Bankruptcy Court.

       8.       In the event of any dispute with respect to the subject matter of this Stipulation, the

Parties agree that the Bankruptcy Court will have exclusive jurisdiction to resolve such dispute.




                                                   4
Case 19-30258-KLP       Doc 1921 Filed 01/28/21 Entered 01/28/21 11:30:25              Desc Main
                                Document    Page 8 of 10



 IN WITNESS WHEREOF and in agreement herewith, by and through the undersigned, the
 Parties have executed and delivered this Stipulation as of the date first set forth below.
 Dated: January 27, 2021
 GEMSTONE SOLUTIONS GROUP, INC.
 REORGANIZED DEBTORS

 By: /s/ Brian H. Richardson
  Michael A. Condyles, Esq. (VA 27807)
  Peter J. Barrett, Esq. (VA 46179)
  Jeremy S. Williams, Esq. (VA 77469)
  Brian H. Richardson, Esq. (VA 92477)
  KUTAK ROCK LLP
  901 East Byrd Street, Suite 1000
  Richmond, Virginia 23219-4071
  Telephone:      (804) 644-1700
  Facsimile:      (804) 783-6192
  Email: Michael.Condyles@KutakRock.com
          Peter.Barrett@KutakRock.com
          Jeremy.Williams@KutakRock.com
          Brian.Richardson@KutakRock.com

  -and-

  Dennis F. Dunne, Esq. (admitted pro hac vice)
  Evan R. Fleck, Esq. (admitted pro hac vice)
  Michael W. Price, Esq. (admitted pro hac vice)
  MILBANK LLP
  55 Hudson Yards
  New York, New York 10001
  Telephone:    (212) 530-5000
  Facsimile:    (212) 530-5219
  Email: ddunne@milbank.com
         efleck@milbank.com
         mprice@milbank.com

  Co-Counsel for the Reorganized Debtors


 LOUISIANA DEPARTMENT OF REVENUE

 By: _/s/ Florence Bonaccorso-Saenz_
 Name: Florence Bonaccorso-Saenz
 Title: Senior Bankruptcy Counsel




                                                5
Case 19-30258-KLP      Doc 1921 Filed 01/28/21 Entered 01/28/21 11:30:25              Desc Main
                               Document    Page 9 of 10




 SO ORDERED

 Dated:                                           ________________________
 Richmond, Virginia                          HONORABLE KEITH L. PHILLIPS
                                             UNITED STATES BANKRUPTCY JUDGE




                         CERTIFICATION OF ENDORSEMENT
                      UNDER LOCAL BANKRUPTCY RULE 9022-1(C)

 Pursuant to Local Bankruptcy Rule 9022-1(C), I hereby certify that the foregoing proposed order
 has been endorsed by or served upon all necessary parties.

                                                                   /s/ Brian H. Richardson




                                                6
Case 19-30258-KLP   Doc 1921 Filed 01/28/21 Entered 01/28/21 11:30:25          Desc Main
                           Document     Page 10 of 10



                                     Schedule 1

                                 ASSERTED CLAIMS
  Proof of    Date     Debtor        Asserted     Subject to     Stipulated Manner
   Claim     Filed                Administrative Reorganized     of Claim Resolution
  Number                            or Priority    Debtors’
                                     Amount      Objection or
                                                 Satisfaction
                                                   Notices
  3635     4/28/2020 Gemstone $5,603.25          Objection       Withdrawn by
                     Solutions                                   Louisiana Department
                     Operations,                                 of Revenue on
                     Inc.                                        11/16/20 – Claims
                                                                 register to be updated
                                                                 to reflect the same.
  3636     4/28/2020 Gemstone    $1,100.00        Objection      Agreed to be
                     Solutions                                   expunged. Claims
                     RS, LLC                                     register to be updated
                                                                 to reflect the same.
  266      2/20/2019 Gemstone $679.16             Docket 1914    Claim has been
                     Solutions                    Notice of      satisfied. Claims
                     Operations,                  Satisfaction   register to be updated
                     Inc.                                        to reflect the same.
  269      2/20/2019 Gemstone $1,584.10           Docket 1914    Claim has been
                     Solutions                    Notice of      satisfied. Claims
                     Group, Inc.                  Satisfaction   register to be updated
                                                                 to reflect the same.
  3637     4/28/2020 Gemstone $283.67             Docket 1914    Claim has been
                     Solutions                    Notice of      satisfied. Claims
                     Group, Inc.                  Satisfaction   register to be updated
                                                                 to reflect the same.
  3638     4/28/2020 Gemstone $13.16              Docket 1914    Claim has been
                     Solutions                    Notice of      satisfied. Claims
                     Operations,                  Satisfaction   register to be updated
                     Inc.                                        to reflect the same.
  268      2/20/2019 Gemstone $890.00             Docket 1915    Withdrawn by
                     Solutions                    Notice of      Louisiana Department
                     RS, LLC                      Satisfaction   of Revenue on 4/13/20
                                                                 – Claims register to be
                                                                 updated to reflect the
                                                                 same.
  2736     4/16/2019 Gemstone $1,163.00           Docket 1915    Agreed to be
                     Solutions                    Notice of      expunged. Claims
                     Operations,                  Satisfaction   register to be updated
                     LLC                                         to reflect the same.


                                         7
